 Case 2:25-cv-05423-HDV-E        Document 16   Filed 07/03/25   Page 1 of 5 Page ID #:88


 1   Carol A Sobel SBN 84483                           Paul Hoffman, SBN 71244
     Weston Rowland SBN 327599                         Michael Seplow, SBN 150183
 2   Law Office of Carol A. Sobel                      John Washington, SBN 315991
     2632 Wilshire Boulevard, #552                     Schonbrun, Seplow, Harris, Hoffman
 3   Santa Monica, CA 90403                            & Zeldes LLP
     t. (310) 393-3055                                 200 Pier Avenue #226
 4   e. carolsobellaw@gmail.com                        Hermosa Beach, California 90254
     e. rowland.weston@gmail.com                       t.(310) 396-0731
 5                                                     e. hoffpaul@aol.com
     David Loy SBN 229235                              e. mseplow@sshhzlaw.com
 6   Aaron R. Field SBN 310648                         e. jwashington@sshhlaw.com
     First Amendment Coalition
 7   534 4th St., Suite B                              Susan E Seager SBN 204824
     San Rafael, CA 94901                              Law Office of Susan Seager
 8   t. (415) 460-5060                                 128 N. Fair Oaks Avenue
     e. dloy@firstamendmentcoalition.org               Pasadena, CA 91103
 9   e. afield@firstamendmentcoalition.org             t. (310) 890-8991
     Peter Bibring, SBN 223981                         e. susanseager1999@gmail.com
10   Law Office of Peter Bibring
     2140 W. Sunset Blvd. #203
11   Los Angeles, CA 90026
     t. (213) 471-2022
12   e. peter@bibringlaw.com
13
     Attorneys for Plaintiffs
14
                           UNITED STATES DISTRICT COURT
15
                          CENTRAL DISTRICT OF CALIFORNIA
16
     LOS ANGELES PRESS CLUB,                     Case No. 25-cv-05423 HDV-E
17   STATUS COUP,
                                                 NOTICE OF EX PARTE
18
                                PLAINTIFFS,      APPLICATION FOR TEMPORARY
19                                               RESTRAINING ORDER AND
     v.                                          ORDER TO SHOW CAUSE RE
20   CITY OF LOS ANGELES, a                      PRELIMINARY INJUNCTION
21   municipal entity, JIM McDONNELL,
     LAPD CHIEF, sued in his official            Date: TBD
22   capacity;                                   Time: TBD
23                                               Ctrm: 5B Hon. Hernan D. Vera
                                DEFENDANTS.
24
25
26
27
28
  Case 2:25-cv-05423-HDV-E     Document 16     Filed 07/03/25   Page 2 of 5 Page ID #:89


 1 TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
 2         PLEASE TAKE NOTICE that for the reasons fully explained in the
 3 accompanying Memorandum of Points and Authorities, Plaintiffs hereby make this ex
 4 parte application for a temporary restraining order and order to show cause why a
 5 preliminary injunction should not issue; or, in the alternative, for an order to show cause
 6 on a shortened briefing schedule. This application is based on Fed. Rule of Civ. Proc. 65,
 7 Local Rule 65-1, and the First, Fourth, and Fourteenth Amendments to the United States
 8 Constitution, sections 409.7 and 13652 of California Penal Code and section 52.1 of the
 9 California Civil Code. Plaintiffs support this application with the accompanying
10 memorandum of law, declarations and exhibits submitted in support thereof.
11         As further described in the complaint, memorandum and proposed order submitted
12 with this application, Plaintiffs hereby seek an emergency order directing Defendants City
13 of Los Angeles and Los Angeles Police Department Chief Jim McDonnell (collectively
14 “LAPD”) to comply with California Penal Code sections 409.7 and 13652, including by
15 not dispersing, citing, arresting, or assaulting journalists present at any demonstration,
16 march, protest, or assembly involing activity protected by the First Amendment to the
17 United States Constitution and/or Article I of the California Constitution, not using less-
18 lethal munitions or other force against journalists who pose no imminent threat of serious
19 harm, and clarifying the indicia the LAPD use to identify journalists, as well as requiring
20 the LAPD to distribute the temporary restraining order to all sworn personnel.
21         Plaintiffs further seek an order to show cause why the Court should not enter a
22 preliminary injunction requiring the LAPD to re-issue their policies every six months,
23 institute revised training consistent with the Court’s order, designate a Journalists’
24 Compliance Liaison to oversee compliance with the preliminary injunction and an Acting
25 Journalists’ Compliance Liaison at any protest or other First Amendment activity to which
26 LAPD deploys to oversee compliance with this Order.
27         Emergency relief is necessary because complying with regular noticed motion and
28 hearing before the Court will result in prolonged loss of plaintiffs’ First Amendment
                                    1
        NOTICE OF EX PARTE APPLICATION FOR TEMPORARY RESTRAINING
        ORDER AND ORDER TO SHOW CAUSE RE PRELIMINARY INJUNCTION
 Case 2:25-cv-05423-HDV-E         Document 16        Filed 07/03/25   Page 3 of 5 Page ID #:90


 1 freedoms. Plaintiffs assert that they have an extraordinarily strong claim that the LAPD
 2 has a custom and practice of violating the rights of journalists at protest, including by the
 3 unlawful use of force causing serious physical injuries.
 4 Compliance with Local Rule 7-19
            Compliance with the requirements of Local Rule 7-19.1 and this Court’s procedures
 5
     is set forth in the Declaration of Carol A. Sobel re Ex Parte Notice, submitted with this
 6
     application. Plaintiffs have provided notice of this Ex Parte Application to the Defendant
 7
     City. Telephonic notice was given to Denise Mills, Chief Deputy City Attorney, at
 8
     approximately 2:20 p.m. this date. On the advisement of Ms. Mills that the matter has
 9
     been assigned to Deputy City Attorney Christian Bojorquez, written notice was provided
10
     to both as set forth in the attached letter.
11
            Defendants’ Position. Defendants have not advised if they will oppose.
12
            Puruant to Local Rule 7-19, the name, address, telephone number and e-mail
13
     address of counsel for the opposing party is:
14
15          Christian Bojorquez
            Deputy City Attorney
16          City Hall East, 200 N. Main Street, 8th Floor
17          Los Angeles, CA 90012
            Email: Christian.bojorquez@lacity.org
18          Tel: (213) 978-8100 / (213) 978-7021
19
20    Dated:    July 3, 2025                        Respectfully submitted,
21                                                  LAW OFFICE OF CAROL A. SOBEL
22                                                  FIRST AMENDMENT COALITION
                                                    LAW OFFICE OF PETER BIBRING
23                                                  SCHONBRUN, SEPLOW, HARRIS,
24                                                      HOFFMAN & ZELDES LLP
                                                    LAW OFFICE OF SUSAN SEAGER
25
26                                                  By: /s/ Carol A. Sobel
27                                                  _______________________________
                                                            Attorney
28
                                   Attorneys for Plaintiffs
                                     2
         NOTICE OF EX PARTE APPLICATION FOR TEMPORARY RESTRAINING
         ORDER AND ORDER TO SHOW CAUSE RE PRELIMINARY INJUNCTION
 Case 2:25-cv-05423-HDV-E      Document 16      Filed 07/03/25   Page 4 of 5 Page ID #:91


 1                  DECLARATION OF CAROL A. SOBEL RE NOTICE
 2        I, CAROL A. SOBEL, declare as follows:
 3        1.     I am an attorney admitted to practice before this Court. I have personal
 4 knowledge of the fact set forth below and, if called to testify to them, could and would
 5 do so competently.
 6        2.     On July 3, 2025 at approximately 2:15 p.m. I telephoned Chief Deputy City
 7 Attorney Denise Mills at her office telephone number. The message on her phone
 8 referred me to another number for her. I telephoned that number and spoke with Ms.
 9 Mills at approximately 2:20 p.m.
10        3.     When I advised Ms. Mills that we would be moving for Ex Parte relief in
11 this action, Ms. Mills advised that the case was assigned to Deputy City Attorney
12 Christian Bojorquez. I then sent the attached letter by email to both Chief Deputy Mills
13 and Deputy City Attorney Bojorquez, along with copies of the complaint previously
14 served in this matter, the Memorandum of Point and Authorities, the Proposed Order and
15 this Ex Parte Application. I advised that I would provide all Declarations and Exhibits
16 in a separate email.
17        4.     Because this is a holiday weekend, Plaintiffs believe the time for
18 Defendants to respond should run from Monday, July 7.
19        5.     I declare under penalty of perjury that the foregoing is true and correct.
20 Executed this 3rd day of July, 2025 in Los Angeles, California.
21
22
23
24
25
26
27
28
                                    3
        NOTICE OF EX PARTE APPLICATION FOR TEMPORARY RESTRAINING
        ORDER AND ORDER TO SHOW CAUSE RE PRELIMINARY INJUNCTION
 Case 2:25-cv-05423-HDV-E   Document 16   Filed 07/03/25   Page 5 of 5 Page ID #:92


 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                  4
      NOTICE OF EX PARTE APPLICATION FOR TEMPORARY RESTRAINING
      ORDER AND ORDER TO SHOW CAUSE RE PRELIMINARY INJUNCTION
